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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE: EQUIFAX, INC., CUSTOMER
DATA SECURITY
BREACH LITIGATION                                             CIVIL ACTION NO.
                                                              1:17md2800-TWT


                                                  /

                        ORDER ON MOTION FOR WITHDRAWAL


       THIS MATTER coming before the Court on the Motion for Withdrawal submitted by

Jeremiah Heck, Brian Garvine, Mark Lewis and Robert Wagoner, and it appearing that the motion

is filed in good faith and no prejudice will accrue to the parties if such motion is granted, and good

cause having been shown, the Court hereby GRANTS the motion. Jeremiah Heck, Brian Garvine,

Mark Lewis and Robert Wagoner are withdrawn as counsel of record in this case.




       SO ORDERED this the                      day of March 2020.




                                       HON. THOMAS W. THRASH, JR.
                                       UNITED STATES DISTRICT COURT JUDGE
